  Case 24-17157-CMG                Doc 25 Filed 11/08/24 Entered 11/09/24 00:16:05                                Desc Imaged
                                        Certificate of Notice Page 1 of 4
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 24−17157−CMG
                                         Chapter: 13
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Javier A. Alicea
   2 Gallant Lane
   Willingboro, NJ 08046
Social Security No.:
   xxx−xx−8972
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 11/6/24.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: November 6, 2024
JAN: km

                                                                        Jeanne Naughton
                                                                        Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 24-17157-CMG
Javier A. Alicea                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Nov 06, 2024                                               Form ID: 148                                                              Total Noticed: 27
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 08, 2024:
Recip ID                 Recipient Name and Address
db                     + Javier A. Alicea, 2 Gallant Lane, Willingboro, NJ 08046-3302
520334559              + KML Law Group, P.C., 216 Haddon Avenue, Suite 406, Westmont, NJ 08108-2812
520334563                Real Time Resolutions, Po Box 6172, Rapid City, SD 57709
520334546                Warren S. Jones, Jr., Esquire, 1 Trinity Lane, Mount Holly, NJ 08060-1747

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Nov 06 2024 20:37:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Nov 06 2024 20:37:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
520334548              + EDI: BANKAMER
                                                                                        Nov 07 2024 01:26:00      Bank of America, Po Box 982238, El Paso, TX
                                                                                                                  79998-2238
520334547              + EDI: BANKAMER
                                                                                        Nov 07 2024 01:26:00      Bank of America, Attn: Bankruptcy, 4909
                                                                                                                  Savarese Circle, Tampa, FL 33634-2413
520334549                 Email/Text: caineweiner@ebn.phinsolutions.com
                                                                                        Nov 06 2024 20:36:04      Caine & Weiner, Attn: Bankruptcy, 5805
                                                                                                                  Sepulveda Blvd 4th Floor, Sherman Oaks, CA
                                                                                                                  91411
520334550                 Email/Text: caineweiner@ebn.phinsolutions.com
                                                                                        Nov 06 2024 20:36:04      Caine & Weiner, Po Box 55848, Sherman Oaks,
                                                                                                                  CA 91413
520334551              + EDI: CAPITALONE.COM
                                                                                        Nov 07 2024 01:26:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
520334552              + EDI: CAPITALONE.COM
                                                                                        Nov 07 2024 01:26:00      Capital One, Po Box 31293, Salt Lake City, UT
                                                                                                                  84131-0293
520334554              + EDI: CITICORP
                                                                                        Nov 07 2024 01:26:00      Citibank/The Home Depot, Po Box 6497, Sioux
                                                                                                                  Falls, SD 57117-6497
520334553              + EDI: CITICORP
                                                                                        Nov 07 2024 01:26:00      Citibank/The Home Depot, Citicorp Cr
                                                                                                                  Srvs/Centralized Bankruptcy, Po Box 790040, St
                                                                                                                  Louis, MO 63179-0040
520334556                 Email/Text: consumers@fcsbpo.com
                                                                                        Nov 06 2024 20:36:00      First Credit Services, 9 Wills Way, Piscataway, NJ
                                                                                                                  08854
520334555              ^ MEBN
                                                                                        Nov 06 2024 20:36:48      First Credit Services, Attn: Bankruptcy, Po Box 55
                                                                                                                  3 Skiles Ave, Piscataway, NJ 08855-0055
520334557              + EDI: PHINAMERI.COM
                                                                                        Nov 07 2024 01:26:00      GM Financial, Po Box 181145, Arlington, TX
                                                                                                                  76096-1145
520334558                 EDI: IRS.COM
                                                                                        Nov 07 2024 01:26:00      Internal Revenue Service, Centralized Insolvency
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District/off: 0312-3                                              User: admin                                                             Page 2 of 3
Date Rcvd: Nov 06, 2024                                           Form ID: 148                                                          Total Noticed: 27
                                                                                                            Operation, PO Box 7346, Philadelphia, PA
                                                                                                            19101-7346
520334561              + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                   Nov 06 2024 20:36:00     Mrc/united Wholesale M, 350 Highland, Houston,
                                                                                                            TX 77009-6623
520334560              + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                   Nov 06 2024 20:36:00     Mrc/united Wholesale M, Attn: Bankruptcy, P. O.
                                                                                                            Box 619098, Dallas, TX 75261-9098
520403185                Email/Text: mtgbk@shellpointmtg.com
                                                                                   Nov 06 2024 20:36:00     NewRez LLC dba Shellpoint Mortgage Servicing,
                                                                                                            PO Box 10826, Greenville SC 29603-0826
520334562              + Email/Text: bkdepartment@rtresolutions.com
                                                                                   Nov 06 2024 20:37:00     Real Time Resolutions, Attn: Bankruptcy, P.O.
                                                                                                            Box 36655, Dallas, TX 75235-1655
520361190                Email/Text: NJTax.BNCnoticeonly@treas.nj.gov
                                                                                   Nov 06 2024 20:36:00     State of New Jersey, Bankruptcy Section, PO Box
                                                                                                            245, Trenton, NJ 08695-0245
520334565              + Email/Text: mtgbk@shellpointmtg.com
                                                                                   Nov 06 2024 20:36:00     Shellpoint Mortgage Servicing, 55 Beattie Place,
                                                                                                            Greenville, SC 29601-2165
520334564              + Email/Text: mtgbk@shellpointmtg.com
                                                                                   Nov 06 2024 20:36:00     Shellpoint Mortgage Servicing, Attn: Bankruptcy,
                                                                                                            Po Box 10826, Greenville, SC 29603-0826
520334567              + EDI: SYNC
                                                                                   Nov 07 2024 01:26:00     Synchrony Bank/Sams, Po Box 71727,
                                                                                                            Philadelphia, PA 19176-1727
520334566              + EDI: SYNC
                                                                                   Nov 07 2024 01:26:00     Synchrony Bank/Sams, Attn: Bankruptcy, Po Box
                                                                                                            965060, Orlando, FL 32896-5060

TOTAL: 23


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 08, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 6, 2024 at the address(es) listed
below:
Name                             Email Address
Albert Russo
                                 docs@russotrustee.com

Joshua I. Goldman
                                 on behalf of Creditor NewRez LLC d/b/a Shellpoint Mortgage Servicing josh.goldman@padgettlawgroup.com
                                 bkecf@padgettlawgroup.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov

Warren S. Jones, Jr.
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District/off: 0312-3                                      User: admin                                                          Page 3 of 3
Date Rcvd: Nov 06, 2024                                   Form ID: 148                                                       Total Noticed: 27
                          on behalf of Debtor Javier A. Alicea email@warrensjones.com r46134@notify.bestcase.com;robert@warrensjones.com


TOTAL: 4
